
48 So.3d 970 (2010)
Vanesa FLORES, Appellant,
v.
FLORIDA UNEMPLOYMENT APPEALS COMMISSION, and Weiser Security Services, Inc., Appellees.
No. 3D09-1749.
District Court of Appeal of Florida, Third District.
December 1, 2010.
Vanesa Flores, in proper person.
Louis A. Gutierrez, Senior Attorney, Tallahassee, for appellee Unemployment Appeals Commission.
Before WELLS, LAGOA, and SALTER, JJ.
PER CURIAM.
Vanesa Flores appeals the Florida Unemployment Appeals Commission's final *971 order affirming the decision of the Unemployment Compensation Appeals Referee dismissing Flores's appeal as untimely filed. We affirm, as the claimant did not appeal the decision until after the 20-day statutory time limit had expired. See § 443.151(3)(a), Fla. Stat. (2009). Accordingly, the Appeals Referee was legally bound to dismiss the appeal.
Affirmed.
